             Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 1 of 7




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


GANNETT SATELLITE INFORMATION
NETWORK, LLC D/B/A USA TODAY
  7950 Jones Branch Drive
  McLean, VA 22108

               Plaintiff,
               v.
                                                             Case No. 22-cv-1188
FOOD AND DRUG ADMINISTRATION
  Division Of Freedom Of Information
  Office of the Executive Secretariat, OC
  5630 Fishers Lane, Room 1035
  Rockville, MD 20857
               Defendant.


                                           COMPLAINT

        Plaintiff Gannett Satellite Information Network, LLC d/b/a USA Today (“USA Today”)

 by its undersigned attorneys, alleges as follows:

                                        INTRODUCTION

        1.      This is an action brought pursuant to the Freedom of Information Act (“FOIA”),

 5 U.S.C. § 552, et seq., seeking the release of agency records from the Food and Drug

 Administration (“FDA”).

        2.      Through this action, USA Today seeks to compel FDA to release communications

 and documents regarding Vivera Pharmaceuticals, Inc. (“Vivera”) and its Emergency Use

 Authorization (“EUA”) applications for Vivera’s COVID-19 antibody tests and FDA’s

 subsequent denial of and/or Vivera’s withdrawal of those applications. USA Today seeks these

 records to defend a lawsuit brought by Vivera against USA Today regarding USA Today’s

 reporting on Vivera’s COVID-19 antibody tests.
            Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 2 of 7




       3.      On June 8, 2021, Matthew Kelley, one of the undersigned counsel, requested

records on behalf of USA Today from FDA. To date, despite its efforts to elicit the records or

any substantive agency response, USA Today has not received any determination regarding any

of its three requests. The agency’s failure to provide any timely response is a violation of FDA’s

duties pursuant to FOIA. As a matter of law, FDA should be required to fulfill its statutory

obligations and release the requested records immediately.

                                            PARTIES

       4.      Plaintiff Gannett Satellite Information Network, LLC d/b/a USA Today is part of

the largest local-to-national digital media organization in the country and is organized under the

laws of Delaware with its principal place of business in McLean, Virginia. The USA Today

Network of publications employs approximately 4,200 journalists and its affiliated news outlets

have collectively won more than ninety Pulitzer Prizes.

       5.      Defendant FDA is an agency of the federal government. It has possession,

custody and/or control of the records that USA Today seeks. FDA is located at 5630 Fishers

Lane, Rockville, MD 20857.

                                JURISDICTION AND VENUE

       6.      This action arises under FOIA. This Court has subject matter jurisdiction over

this action pursuant to 28 U.S.C. § 1331 and personal jurisdiction over the parties pursuant to 5

U.S.C. § 552(a)(4)(B).

       7.      Venue is proper in this judicial district under 5 U.S.C. § 552(a)(4)(B).

                                  FACTUAL ALLEGATIONS

       8.      The Freedom of Information Act “focuses on the citizens’ right to be informed

about ‘what their government is up to’” by fostering the release of “[o]fficial information that



                                                 2
             Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 3 of 7




sheds light on an agency’s performance of its statutory duties.” DOJ v. Reporters Comm. for

Freedom of the Press, 489 U.S. 749, 750, 773 (1989). “[D]isclosure, not secrecy, is the

dominant objective” of FOIA. Dep’t of Interior v. Klamath Water Users Protective Ass’n, 532

U.S. 1, 8 (2001).

        9.      USA Today seeks this information in connection with litigation in Vivera

Pharmaceuticals, Inc. v. Gannett Co., Inc., et al., No. CL-2020-14458 (Va. Cir. Ct. Fairfax

Cnty.) (the “Vivera Litigation”).

        10.     Vivera sued USA Today, its parent companies, its journalists, and its executives

for defamation based on a June 2020 USA Today article regarding companies including Vivera

that were producing antibody tests for COVID-19 under an FDA policy allowing for distribution

of such tests prior to issuance of an EUA.1

        11.     The discovery period in the Vivera Litigation closes on November 19, 2022 and

Plaintiff seeks the requested records to aid in its defense.




    1 See David Heath, Donovan Slack & Kevin McCoy, Inexperienced, dubious companies on
FDA list to sell coronavirus antibody tests, USA Today (June 2, 2020),
https://www.usatoday.com/in-depth/news/investigations/2020/06/02/coronavirus-antibody-tests-
include-some-dubious-inexperienced-firms/5269266002/.
                                                  3
           Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 4 of 7




       12.     Plaintiff brings this suit in lieu of filing a third-party subpoena to FDA because

state-court subpoenas to federal agencies are unenforceable due to sovereign immunity. See,

e.g., Voyles v. Smithkline Beecham Corp. (In re Collins), 524 F.3d 249, 251 (D.C. Cir. 2008).

FDA’s staff manual instructs that “[a] state subpoena for records will be denied and converted to

a FOIA request by FOI Staff and will be answered in accordance with the Freedom of

Information Act (FOIA).” Requests for Testimony of FDA Personnel in Non-FDA Proceedings,

FDA Staff Manual Guide 2127.2 (Vol. 3, Oct. 18, 2021), at 3, 5,

https://www.fda.gov/media/80944/download.

                                        THE REQUEST

       13.     On June 8, 2021, Mr. Kelley, on behalf of his client USA Today, sent a FOIA

request to FDA seeking all records relating to Vivera’s EUA applications and FDA’s subsequent

removal of Vivera’s tests from its list of tests being distributed pending approval of EUAs.

Specifically, the request sought:

              All records concerning or related to the Emergency Use Authorization application
               by Vivera Pharmaceuticals, Inc. for its “COVID-19 Rapid Test Kit.”

              All records concerning or related to the Emergency Use Authorization application
               by Vivera Pharmaceuticals, Inc. for its “COVx-RT Test.”

              All records concerning or related to the removal of Vivera Pharmaceuticals’
               COVx-RT test from the FDA’s notification list for COVID-19 antibody tests and
               the withdrawal of Vivera Pharmaceuticals’ COVID-19 Rapid Test from that list,
               as noted at https://www.fda.gov/medical-devices/coronavirus-covid-19-and-
               medical-devices/removal-lists-tests-should-no-longer-be-used-andor-distributed-
               covid-19-faqs-testing-sars-cov-2.2


   2 The FDA no longer posts COVID-19 removal lists online and this link now redirects to the
FDA FAQ page. Pursuant to the FDA’s November 15, 2021 Policy for Coronavirus Disease-
2019 Tests, it “does not intend to maintain the removal list of tests that should no longer be used
and/or distributed for COVID-19.” See Notifications and Emergency Use Authorizations: FAQs
on Testing for SARS-CoV2, U.S. Food & Drug Administration, https://www.fda.gov/medical-
devices/coronavirus-covid-19-and-medical-devices/notifications-and-emergency-use-
authorizations-faqs-testing-sars-cov-2. Upon information and belief, a true and correct version
                                                 4
           Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 5 of 7




             All communications with any employee or agent of Vivera Pharmaceuticals, Inc.
              from January 1, 2020 to the present.

             All records provided to Vivera Pharmaceuticals, Inc. in response to FOIA Request
              No. 2020-4645, for records including materials related to FDA inspections of
              Vivera facilities in May and June 2019.

             To the extent not subject to any of the requests above, all records concerning or
              relating to any inspection, investigation or enforcement action, whether or not
              completed and whether or not it resulted in any action taken, involving Vivera
              Pharmaceuticals, Inc. or its principal, Paul Edalat.

       A true and correct copy of this request (the “Request”), which was assigned tracking

number 2021-3789, is attached hereto as Exhibit 1.

       14.    Pursuant to FOIA, an agency must make and communicate to the requester its

determination regarding a request within 20 working days, or within 30 working days if it can

show “unusual circumstances.” See 5 U.S.C. § 552(A)(6)(A)(i) & (a)(6)(B)(i). A requester is

deemed to have exhausted their administrative remedies and may file suit if the agency misses

the deadline to make and communicate its determination. 5 U.S.C. § 552(a)(6)(C)(i).

       15.    The deadline to communicate a determination regarding the Request expired on

July 8, 2021. Still, FDA has not communicated a determination regarding this request to date.

       16.    In an effort to avoid litigation, Margaret Strouse on behalf of Plaintiff’s counsel

contacted FDA via phone and email more than ten times regarding the Request. On March 8,

2022, Nikita Steward, a Center for Devices and Radiological Health (“CDRH”) Government

Information Specialist in the FDA’s Division of Information Disclosure (“DID”), replied to

counsel’s email requesting a status update on the Request. Ms. Steward stated “CDRH currently


of FDA’s removal list of COVID-19 tests as of November 9, 2021 can be accessed via the
Internet Archive Wayback Machine at:
https://web.archive.org/web/20211109221140/https://www.fda.gov/medical-
devices/coronavirus-covid-19-and-medical-devices/removal-lists-tests-should-no-longer-be-
used-andor-distributed-covid-19-faqs-testing-sars-cov-2.

                                                5
          Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 6 of 7




has an extensive backlog” and “Requests are currently taking longer than usual for processing

(18-24mths).” A true and correct copy of that email is included in Exhibit 2 attached hereto.

       17.      On March 8, 2022, Ms. Strouse sent an email asking for FDA’s estimated time of

completion of the Request. On March 11, 2022, Candace Boston, FDA CDRH Director of DID,

responded that “[t]here are 106 requests ahead of your request” and that “[w]e expect your

request to be completed within 6-9 months.” A true and correct copy of that email is in Exhibit 2

attached hereto.

       18.      Although Ms. Strouse, on behalf of Plaintiff’s counsel, has attempted to obtain an

updated estimate on the Request completion, to date, neither she nor Plaintiff’s counsel has

received any further response from Ms. Boston or FDA.

       19.      USA Today therefore has exhausted its administrative remedies regarding the

Request pursuant to 5 U.S.C. § 552(a)(6)(C)(i).

                                     CLAIM FOR RELIEF

                                 (Declaratory and Injunctive Relief:
                   Violation of the Freedom of Information Act, 5 U.S.C. § 552)

       20.      FDA is an agency subject to FOIA, 5 U.S.C. § 552(f), and therefore must disclose

in response to a FOIA request all responsive records in its possession at the time of the request

that are not specifically exempt from disclosure under FOIA, and must provide a lawful reason

for withholding any records (or portions thereof) as to which they are claiming an exemption.

       21.      The records requested in the Request, described herein and attached hereto as

Exhibit 1, are subject to release pursuant to FOIA.

       22.      FDA’s failure to comply with its statutory duties and timely disclose the records

sought by the Request is a constructive denial of these requests and violates FOIA, 5 U.S.C. §

552(a)(3)(A).


                                                  6
  Case 1:22-cv-01188-ZMF Document 1 Filed 04/29/22 Page 7 of 7




                           REQUEST FOR RELIEF

WHEREFORE, USA Today respectfully requests that this Court:

   A. Expedite consideration of this Complaint pursuant to 28 U.S.C. § 1657;

   B. Declare that the records sought by the Request, as more particularly described

       above, are public records pursuant to FOIA and must be disclosed;

   C. Order FDA to provide the requested records to USA Today, including electronic

       copies of records stored in electronic format, within 10 business days of the

       Court’s order;

   D. Award USA Today the costs of this proceeding, including its reasonable

       attorneys’ fees pursuant to 5 U.S.C. § 552(a)(4)(E); and

   E. Grant USA Today such other and further relief as this Court deems just and proper.




 Dated: April 29, 2022            Respectfully submitted,

                                  BALLARD SPAHR LLP

                                  /s/ Chad R. Bowman
                                  Chad R. Bowman (Bar No. 484150)
                                  Matthew E. Kelley (Bar No. 1018126)
                                  1909 K Street, NW, 12th Floor
                                  Washington, DC 20006
                                  Tel: (202) 508-1112
                                  Fax: (202) 661-2299
                                  bowmanchad@ballardspahr.com
                                  kelleym@ballardspahr.com

                                  Counsel for Plaintiff Gannett Satellite Information
                                  Network LLC d/b/a USA Today




                                        7
